       From:                  Steve Chen -:steve@youtube.com).
       Sent:
       To:
       Cc:
                              Jawed~
                              Monday, July 4, 20053:01 PM

                              Chad Hurley -cchad@youtube.com).
       Subject:               Re: budlight commercials


      you guys.

      okay first, regardless of the video they upload, people are going to
      be telling people about the site, thereforc making it viraL. they're
      going to drive traffc.

      second, it adds more content on the site.

      third, we're going to be adding advertisements in Ihe future so this
      gets them used to it.

      i'm asking for a couple more weeks.

      -$

      On .luI 4, 2005, at 3:56 PM, Jawed wrote:

      ;: I added back in all 28 bud videos.
      ;;
      :; stupid...
      ;;
      ;: Jawed
      ;;
      ;:
      ;: !::!/www.jawed.com!
      ;;
      ;;
      ;;
      ;: On Mon, 4 .luI 2005, Chad Hurley wrote:
      ;;
      ;:
      ;;;: we need to rejed these loo.
      ;:;;
      ;;;: -chad
      ;:;:
      ;;:;
      ;;




                                                                             DATE: 4~'22--
                                                                             DEPONENT: l4LLRi"l E~IBIT# '5 '5
                                                                             CASE: Viacom, et a1 v YouT i
                                                                             Association Premier i~a . ube, et aI., The Football
                                                                             Case Nos 07-CV 2203 gUde, et aI., v. YouTube et al
                                                                                      . . - an 07-CV-3582 ' .,
                                                                                A. IgnacJo Howard CLR RPR CSR
                                                                                                   ' , , No.            9830




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